       The following case in which the Court of Appeals issued a published opinion has been
appealed to the Supreme Court:

    1. Jose Rafael Salazar
        v. Commonwealth of Virginia
        Record No. 0879-15-4
        Opinion rendered by Judge Russell on
        August 23, 2016
          The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

          1. Brian Jeffrey Turner
             v. Commonwealth of Virginia
             Record No. 1309-14-4
             Opinion rendered by Judge Humphreys
              on October 27, 2015
             Refused (160017)

          2. Christian John Prekker
             v. Commonwealth of Virginia
             Record No. 2175-14-3
             Opinion rendered by Judge Russell
              on March 8, 2016
             Refused (160557)

          3. Juan Daniel Vaca Diez Nunez
              v. Commonwealth of Virginia
             Record No. 0221-15-4
              Opinion rendered by Judge McCullough
               on March 22, 2016
              Refused (160625)

          4. Scott Farver Morehead
             v. Commonwealth of Virginia
             Record No. 2225-14-1
             Opinion rendered by Senior Judge Felton
               on April 19, 2016
              Refused (160771)

          5. Arthur Amil Zebbs
             v. Commonwealth of Virginia
             Record No. 0933-15-1
             Opinion rendered by Judge AtLee
              on May 17, 2016
             Refused (160941)
